876 F.2d 104
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.Gary K. SHOLES, Plaintiff-Appellant,v.SECRETARY OF HEALTH AND HUMAN SERVICES, Defendant-Appellee.
    No. 88-1992.
    United States Court of Appeals, Sixth Circuit.
    June 9, 1989.
    
      Before KEITH and ALAN E. NORRIS, Circuit Judges, and BAILEY BROWN, Senior Circuit Judge.
      PER CURIAM.
    
    
      1
      Plaintiff, Gary K. Sholes, appeals from an order of the district court which affirmed the denial of disability benefits.
    
    
      2
      Having carefully considered the record on appeal and the briefs of the parties, we are unable to say that the decision of the administrative law judge is not supported by substantial evidence.
    
    
      3
      Accordingly, the district court did not err in granting summary judgment to the Secretary, and the judgment of the district court is therefore AFFIRMED upon the reasoning set forth in its memorandum opinion and order of August 17, 1988, the report and recommendation of the magistrate of May 19, 1988, and the decision of the administrative law judge, dated July 14, 1987.
    
    